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                 EXHIBIT 17
UNREDACTED VERSION
   OF DOCUMENT
SOUGHT TO BE SEALED
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                                                                Page 1
                       UNITED STATES DISTRICT COURT

              FOR THE NORTHERN DISTRICT OF CALIFORNIA



     WAYMO LLC,                          )

            Plaintiff,                   )

                 vs.                     ) Case No.

     UBER TECHNOLOGIES, INC.;            ) 3:17-cv-00939 WHA

     OTTOMOTTO LLC; OTTO                 )

     TRUCKING LLC,                       )

            Defendants.                  )

     _______________________________________________

            HIGHLY CONFIDENTIAL - ATTORNEYS' EYES ONLY



        VIDEOTAPED DEPOSITION OF

                               San Jose, CA

                       Wednesday, August 23, 2017

                                 Volume I




     Reported by:

     SUSAN F. MAGEE, RPR, CCRR, CLR

     CSR No. 11661

     JOB No. 2686098



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                                                               Page 60
1    alignment for the               and         .

2                BY MR. MUINO:

3           Q.   MPI refers to manufacturing process

4    instructions?

5           A.   That is correct.

6           Q.   Is that an abbreviation that you --

7                uses in some of its documents?

8           A.   That is correct.

9           Q.   What does the laser -- it says "laser fiber

10   attach."

11               What does that refer to?

12          A.              uses a fiber, which is placed in

13   front of the laser diode as a fast axis collimator.

14          Q.   Is that fiber cylindrical in shape?

15          A.   Yes.

16          Q.   And you said it uses this fiber as a fast

17   axis collimator.

18               Is that sometimes abbreviated FAC?

19          A.   That is correct.

20          Q.   What is a fast axis collimator?

21          A.   Fast axis collimator is used to collimate

22   the output rays typically with a -- typically with a

23   system in which the angular extent on one axis is

24   larger than the other.

25          Q.   And when you refer to -- well, you said the
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                                                               Page 61
1    rays are -- the angular extent is larger on one axis

2    than the other.

3                Can you explain what you mean?

4           A.   So we use a fast axis collimator to -- to

5    in essence compress the outgoing angular extent of

6    the viewable angle of a system.

7           Q.   The laser diodes that                  uses, what

8    kind of laser diodes does                   use, do you know?

9    Do you get it from a particular vendor?

10          A.   We do.

11          Q.   Do you know which vendor?

12               MR. PICONE:     You can go ahead.

13               THE WITNESS:            .

14               BY MR. MUINO:

15          Q.   And the rays from that -- emitting from

16   those laser diodes, do they tend to diverge faster

17   in one direction than the other?

18          A.   They do.

19          Q.   The direction that they diverge faster is

20   called the fast axis?

21          A.   Yes.

22          Q.   The fast axis collimator that                       puts

23   into the             and          , is that the kind to

24   collimate the light in the fast axis direction?

25          A.   It reduces -- it reduces the angular extent
Case 3:17-cv-00939-WHA Document 2690-6 Filed 01/28/19 Page 5 of 11


                                                               Page 62
1    of the light coming out from that direction.

2           Q.   And I think you mentioned previously that

3    the transmit lens of the system also has the

4    function of collimating the beams?

5           A.   That is correct.

6           Q.   So the -- this -- the fast axis collimator

7    that               uses is kind of precollimating that

8    light or a first stage of collimation?

9           A.   Correct.

10          Q.   Now, this particular document applies to

11   the           and the            ; correct?

12          A.   Correct.

13          Q.   Do               other LiDARs also use a fast

14   axis collimator in front of their laser diodes?

15          A.   They do.

16          Q.   Does each laser diode in                     LiDARs

17   have its own fast axis collimator?

18          A.   Yes.

19          Q.   The date on the front of this document is

20   April 5th, 2017.

21               Do you see that?

22          A.   I do.

23          Q.   Has             always used fast axis

24   collimators for its laser diodes in its LiDARs?

25          A.   To the -- to the best of my knowledge, yes.
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                                                               Page 63
1           Q.   So going back to 2007 release, for example,

2    of the             , that LiDAR also had fast axis

3    collimators in front of its laser diodes?

4           A.   Correct.

5           Q.   If we go to -- just quickly go through this

6    document.

7                If we go to page 2, generally, what is

8    that?    What is page 2 showing?

9           A.   Page 2 is showing the complete setup, the

10   station setup that's used to attach the fiber to the

11                       laser boards.

12          Q.   And if we go to page 8, please.

13               First of all, on the left side Figure 1,

14   what does Figure 1 show?

15          A.   Figure 1 shows the clamping method that we

16   have for holding the fiber down for the fiber attach

17   process.

18          Q.   That fiber that we see there, that's the

19   fast axis collimator?

20          A.   That is correct.

21          Q.   Then if you go to page 10, please.

22               And do you see on the right side there

23   appears to be a board, and then there's the fiber in

24   front of it?

25          A.   Yes.
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                                                               Page 67
1           A.   Correct.

2           Q.   And we see that it's situated there in

3    front of the laser diode; correct?

4           A.   Correct.

5           Q.   And I believe you -- you mentioned before,

6    but just to be clear, all of                       LiDARs use

7    fast axis collimators in front of the individual

8    laser diodes?

9           A.   To the best of my knowledge, yes.

10               MR. MUINO:     All right.     Why don't we take a

11   break.

12               THE VIDEOGRAPHER:       Off the record?      We're

13   now going off the record.         The time is 9:59 a.m.

14               (Recess taken from 9:59 a.m. to 10:13 a.m.)

15               THE VIDEOGRAPHER:       We are now back on the

16   record.     The time is 10:13 a.m.

17               BY MR. MUINO:

18          Q.   I have just a few more questions about the

19   fast axis collimators that we were discussing.

20               You mentioned that the fast axis

21   collimators are used to collimate the laser light

22   coming out of the diodes; correct?

23          A.   They are used to slow down the fast axis of

24   the diodes.

25          Q.   Can you explain what you mean by that.
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                                                               Page 68
1           A.   They help converge the light coming out of

2    the diodes.

3           Q.   And that's referred to as collimation?

4           A.   Yes.

5           Q.




10          Q.   And how does that work?

11          A.




20          A.   Yes.

21          Q.   What are those?      What are those

22   circumstances?

23          A.
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                                                               Page 69
1



3           Q.   So in those situations, it's desirable to

4



6           A.   Correct.

7           Q.   Is that kind of done on an ad hoc basis or

8    is that a relatively common practice in setting up

9    the FACs?

10          A.   So it is product-dependent.         It's a common

11   practice done on the                and not so much done on

12   the                       .

13          Q.   And again, the             is the one that's

14   been selling since 2007; correct?

15          A.   That is correct.

16          Q.

17   using the FACs in the               , has that been done

18   since it was first sold?

19          A.   To the best of my knowledge, yes.

20          Q.   Outside of              , are you aware of other

21   laser systems that use FAC lenses?

22          A.   No, I'm not aware.

23          Q.   Are you aware of vendors that sell FACs?

24          A.   In general, yes.

25          Q.   Any particular ones that you can think of?
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                                                               Page 70
 1           A.   I believe                    sells fast axis

 2    collimators.

 3           Q.   Does             purchase its fast axis

 4    collimator fibers from a vendor?

 5           A.   It does.

 6           Q.   Which vendor?

 7           A.   I do not know off the top of my head right

 8    now.

 9                MR. MUINO:    I think we're up to 1964.         I'm

10    going to mark as 1964 another document that was

11    produced, I believe, in native format by                        .

12                (Exhibit 1964,             and           Laser or

13    Emitter Board Outline (4 pages), marked for

14    identification.)

15                MR. PICONE:     Similar to the previous

16    exhibits, this should be marked attorneys' eyes

17    only.

18                BY MR. MUINO:

19           Q.   Do you recognize this document?

20           A.   I do.

21           Q.   What is this document?

22           A.   This document appears to show the top layer

23    and board outline of the                and           laser or

24    emitter board.

25           Q.   If we look at the last page of this
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